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 1   Philip Cozens, State Bar Number 84051
 2   1007 Seventh Street, Suite 500
 3   Sacramento, CA 95814
 4
 5   Telephone: (916) 443-1504
 6
 7   Fax: (916) 443-1511
 8   Email: pcozens@aol.com
 9
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11
12                           IN THE UNITED STATES DISTRICT COURT
13
14                               EASTERN DISTRICT OF CALIFORNIA
15
16   UNITED STATES OF AMERICA,           )                Case No. 2:11-CR-296 J
17                                       )
18         Plaintiff,                    )                STIPULATION RE HEARING FOR
19                                       )                MOTION TO WITHDRAW GUILTY
20                 v.                    )                PLEA AND ORDER
21                                       )
22   CHRISTIAN PARADA-RENTERIA,          )
23                                       )
24         Defendant.                    )
25   ____________________________________)

26          It is stipulated between the United States Attorney’s Office for the Eastern District of
27   California by Assistant United States Attorney Brian Fogerty, Esq. and Defendant Christian
28   Parada-Renteria through his attorney Philip Cozens, Esq., that:
29          The Hearing for Motion to Withdraw Guilty Plea currently scheduled for March 21,
30   2017 at 9:15 a.m. in Judge Mendez’s Court be re-scheduled for April 11, 2017 at 9:15 a.m. in
31   Judge Mendez’s Court. The stipulated continuance is necessary because Defendant Christian
32   Parada-Renteria’s attorney has conflicting court appearances and could not be present for the
33   March 21, 2017 hearing.
34          Time should be excluded for defense attorney preparation pursuant to Local Code T4
35   and the ends of justice outweigh the Defendant’s and the public’s interest in a speedy trial.
36   Time should be excluded from speedy trial calculations from March 21, 2017 through and
37   including April 11, 2017.



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1           It is so stipulated.
2    Dated: March 20, 2017                        /s/ Brian Fogerty, Esq.____________
3                                                 Brian Fogerty, Esq.
4                                                 Assistant United States Attorney
5                                                 Eastern District of California
6
7                                                 /s/ Philip Cozens_________________
8                                                 Philip Cozens
9                                                 Attorney for Defendant Christian Parada-Renteria
10                                              ORDER
11                  The court, having read and considered the above-stipulation and finding good
12   cause therefore, orders that the Hearing for Motion to Withdraw Guilty Plea currently
13   scheduled for March 21, 2017 at 9:00 a.m. in Judge Mendez’s Court be re-scheduled for April
14   11, 2017 at 9:15 a.m. in Judge Mendez’s Court. Time is excluded for defense attorney
15   preparation pursuant to Local Code T4 and the court finds the ends of justice outweigh the
16   Defendant’s and the public’s interest in a speedy trial. Time will be excluded from speedy trial
17   calculations from March 21, 2017 through and including April 11, 2017.
18   Dated: 3/20/2017
19
20                                                /s/ John A. Mendez_____________
21                                                John A. Mendez
22                                                United States District Court Judge
23                                                Eastern District of California
24
25




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